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          EXHIBIT 42
         to the Declaration of Qifan Huang
        PUBLIC VERSION - REDACTED
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                                                                         Page 1
                   UNITED STATES DISTRICT COURT
                  NORTHERN DISTRICT OF CALIFORNIA
                              ---oOo---


MARIA SCHNEIDER, UNIGLOBE
ENTERTAINMENT, LLC, and
AST PUBLISHING LTD.,
individually and on behalf
of all others similarly
situated;

                  Plaintiffs,
vs.                                   Case No. 3:20-cv-04423-JD
YOUTUBE, LLC; and GOOGLE
LLC;

             Defendants.
__________________________/


                    THIS TRANSCRIPT CONTAINS
           HIGHLY CONFIDENTIAL ATTORNEYS' EYES ONLY
                    DEPOSITION OF CHRIS TING
                    SAN FRANCISCO, CALIFORNIA
                    WEDNESDAY, JUNE 29, 2022




STENOGRAPHICALLY REPORTED BY:
ANDREA M. IGNACIO, CSR, RPR, CRR, CCRR, CLR
CSR LICENSE NO. 9830
JOB NO. 846000
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                                                  Page 2                                                           Page 4
 1          UNITED STATES DISTRICT COURT                     1    A P P E A R A N C E S: (Cont.)
 2         NORTHERN DISTRICT OF CALIFORNIA                   2
 3             ---oOo---
 4                                                           3
 5   MARIA SCHNEIDER, UNIGLOBE                               4      COUNSEL FOR THE DEFENDANTS:
     ENTERTAINMENT, LLC, and                                 5        WILSON SONSINI GOODRICH & ROSATI
 6   AST PUBLISHING LTD.,                                    6        BY: BRIAN WILLEN, Esq.
     individually and on behalf
 7   of all others similarly
                                                             7           NATHALIE GORMAN, Esq.
     situated;                                               8        650 Page Mill Road
 8                                                           9        Palo Alto, CA 94304-1050
          Plaintiffs,                                       10        (650) 493-9300
 9   vs.              Case No. 3:20-cv-04423-JD
10   YOUTUBE, LLC; and GOOGLE
                                                            11        bwillen@wsgr.com
     LLC;                                                   12
11                                                          13
           Defendants.                                      14      ALSO PRESENT: Keigo Painter, Videographer
12   __________________________/                            15            Samuel Reed Dippo, Google
13
14                                                          16              ---oOo---
15       Remote Videotaped Deposition of Chris Ting,        17
16    taken at Boies Schiller & Flexner, 44 Montgomery      18
17    Street, 41st Floor, San Francisco, on behalf of the   19
18    Plaintiffs, on Wednesday, June 29, 2022, beginning
19    8:58 a.m., and ending at 1:20 p.m., Pursuant to
                                                            20
20    Notice, and before me, ANDREA M. IGNACIO, CSR, RPR,   21
21    CRR, CLR ~ No. 9830.                                  22
22                                                          23
23
24
                                                            24
25                                                          25

                                                  Page 3                                                           Page 5
 1     A P P E A R A N C E S:                                1              INDEX
 2                                                           2
 3                                                           3   WITNESS: Chris Ting
 4       COUNSEL FOR THE PLAINTIFFS:                         4
 5         KOREIN TILLERY, LLC                               5   EXAMINATION                           PAGE
 6         By: CAROL O'KEEFE, Esq.                           6   By Ms. O'Keefe                    7
 7            RYAN CORTAZAR, Esq.                            7
 8         205 North Michigan, Suite 1950                    8             EXHIBITS
 9         Chicago, IL 60601                                 9   EXHIBIT                           PAGE
10         (312) 641-9750                                   10   Exhibit 134 SpiderMADison: Copyright         94
11         cokeefe@koreintillery.com                        11           Suspension Expansion to Linked
12                                                          12           Channels, Bates
13     -- and--                                             13           GOOG-SCHNDR-00000918 - '23
14                                                          14
15          BOIES SCHILLER FLEXNER LLP                      15               ---oOo---
16          By: DEMETRI BLAISDELL, Esq.                     16
17          55 Hudson Yards, 20th Floor                     17      HIGHLY CONFIDENTIAL ATTORNEYS' EYES ONLY
18          New York, NY 10001                              18    (See attached 7-25-22 Letter from Wilson Sonsini)
19          (212) 446-230                                   19
20          dblaisdell@bsfllp.com                           20
21                                                          21
22                                                          22
23                                                          23
24                                                          24
25                                                          25


                                                                                         2 (Pages 2 to 5)
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 1            DEPOSITION PROCEEDINGS                           1   manager on the copyright review ops team. Previously
 2            WEDNESDAY, JUNE 29, 2022                         2   to that, I was an individual contributor on the same
 3              8:58 A.M.                                      3   team. And previous to that, I was a contractor for
 4                                                             4   YouTube.
 5                                                             5      Q Okay. And when did you begin in your role as
 6         THE VIDEOGRAPHER: We are on the record.             6   a contractor for YouTube?
 7   This begins videotape No. 1 in the deposition of Chris    7      A I began my role in 2012.
 8   Ting.                                                     8      Q And what were your responsibilities as a
 9         In the matter of Maria Schneider, et al.,           9   contractor?
10   versus YouTube LLC, et al. In the Northern District      10      A As a contractor, I reviewed and processed
11   of California, San Francisco Division. Case              11   DMCA takedown requests.
12   No. 3:20-CV-04423 JD.                                    12      Q And did you -- were you hired directly by
13         Today is June 29th, 2022, and the time is          13   YouTube, or did you work for a vendor?
14   8:58.                                                    14      A As a contractor?
15         This deposition is being taken at Boies,           15      Q Yes.
16   Schiller & Flexner, LLP, 44 Montgomery Street,           16      A As a contractor, I worked for a vendor.
17   41st Floor, San Francisco, California 94104, at the      17      Q And what was the name of the vendor that you
18   request of Boies, Schiller & Flexner, LLP.               18   worked for?
19         The videographer is Keigo Painter of Magna         19      A I have worked for multiple vendors.
20   Legal Services, and the court reporter is Andrea         20      Q And what were the names of the vendors that
21   Ignacio of Magna Legal Services.                         21   you worked for?
22         Will counsel and all parties present state         22      A I can't remember the first one, but the
23   their appearances and whom they represent.               23   second one was Adecco, and the third one was Vaco.
24         MS. O'KEEFE: I am Carol O'Keefe from Korein        24      Q And how long were you with Adecco?
25   Tillery, appearing on behalf of the plaintiffs.          25      A I -- I don't recall exactly how long.

                                                  Page 7                                                        Page 9
 1        With me is Ryan Cortazar, also of Korein             1     Q Okay. So how many years altogether did you
 2   Tillery.                                                  2   work as a contractor at YouTube?
 3        MR. BLAISDELL: Demetri Blaisdell of Boies,           3     A I don't recall exactly. I can estimate, if
 4   Schiller & Flexner, LLP, for the plaintiffs.              4   that's -- probably about three or -- between three and
 5        MR. WILLEN: Brian Willen from Wilson                 5   four.
 6   Sonsini, representing the defendants.                     6     Q Three and four years?
 7        With me is Nathalie Gorman, also from Wilson         7     A Three and four years. Correct.
 8   Sonsini.                                                  8     Q And were you a Tier 1 reviewer in your role
 9        MR. REED DIPPO: Samuel Reed Dippo of Google          9   as a contractor?
10   LLC.                                                     10     A That is how a contractor starts, at Tier 1.
11        THE VIDEOGRAPHER: Okay. Would the court             11   So yes, I was a Tier I when I began.
12   reporter please swear in the witness.                    12     Q And during the time that you worked as a
13                                                            13   contractor, did you become a Tier 2 reviewer?
14                CHRIS TING,                                 14     A I -- yes. So as I -- I progressed to the
15          having been sworn as a witness                    15   next level, which is Tier 2.
16        by the Certified Shorthand Reporter,                16     Q And how long did it take you to progress from
17            testified as follows:                           17   Tier 1 to Tier 2?
18                                                            18     A I -- it was quite a while ago. I don't
19              EXAMINATION                                   19   recall exactly how long that transition took.
20   BY MS. O'KEEFE:                                          20     Q And when were you hired by YouTube?
21     Q Good morning, Mr. Ting.                              21     A 2016.
22     A Good morning.                                        22     Q Okay. And what was your position when you
23     Q Could you please tell me what your roles have        23   were hired by YouTube?
24   been at Google.                                          24     A My position when I was hired by YouTube was
25     A Yes. I -- I am currently the -- a people             25   copyright operations specialist.


                                                                                          3 (Pages 6 to 9)
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                                                Page 38                                                       Page 40
 1   the claimant who has not provided a full copy of the      1      Q Okay. Do you have canned responses that bear
 2   work, we may still find that there is a strong            2   on fair use?
 3   likelihood of copyright exception.                        3      A This response to them describing is a canned
 4         MS. O'KEEFE: Okay.                                  4   response.
 5      Q Have you ever found a DMCA takedown notice to        5      Q How many canned responses do you have that
 6   be insufficient where you did not have -- strike that.    6   bear on fair use?
 7         Have you ever found a DMCA takedown notice to       7         MR. WILLEN: Objection to the form.
 8   be insufficient on the basis of an exception for fair     8         THE WITNESS: I -- I don't recall at this
 9   use where you did not have a complete copy of the         9   point.
10   copyrighted work?                                        10         MS. O'KEEFE: Q. Is it more than one?
11         MR. WILLEN: Objection to the form.                 11      A I -- I believe it's more than one.
12         THE WITNESS: I'm sorry. There -- there are         12      Q Is it more than five?
13   multiple parts to that -- that question. Could you       13      A I -- I'm not sure about that.
14   repeat it one more time, please.                         14      Q In your canned response that bears on fair
15         MS. O'KEEFE: Q. Have you ever found a DMCA         15   use, do you advise the DMCA claimant that they could
16   takedown notice to be insufficient on the basis of an    16   face civil penalties if they make an unjustified DMCA
17   exception for fair use where you did not have a          17   takedown claim?
18   complete copy of the copyrighted work?                   18      A I -- I don't recall the exact text of the
19         MR. WILLEN: Same objection.                        19   canned response. So if -- if -- if you're asking
20         THE WITNESS: So in the case where we have          20   what's in the canned response, I'm not sure if that --
21   received a DMCA takedown request, it may be incomplete   21   that is in there.
22   for varieties of reasons. It may have failed the         22      Q You had stated that the second factor was how
23   statutory requirements.                                  23   much of the work was used.
24         In the case that it is a -- it meets the           24         Please describe for me the physical steps
25   statutory requirements, but we feel that there is a --   25   that you take in interacting with your user interface

                                                Page 39                                                       Page 41
 1   after reviewing for -- under our -- our review            1   and applying the tools that are at your fingertips to
 2   protocol for checking for copyright exceptions, we --     2   make a determination on how much of the original work
 3   we may find that the takedown request -- we -- we may     3   is used.
 4   ask the claimants to consider some copyright exception    4         MR. WILLEN: Objection to the form.
 5   and ask them to consider things like whether the --       5         THE WITNESS: So I think there, the tool
 6   the work is transformed.                                  6   itself is -- it -- you know, it just shows the -- the
 7         MS. O'KEEFE: Q. So you engage in back and           7   targeted -- the video that is targeted for removal.
 8   forth with the claimant over the contours of the fair     8         And beyond that, you know, if -- as I
 9   use exception?                                            9   mentioned previously, if the claimant has provided
10         MR. WILLEN: Objection to the form.                 10   a -- a copy of their original work, then -- then we
11         THE WITNESS: We -- we merely ask -- after          11   can analyze both the -- the targeted work for removal
12   we've done our own analysis on potential copyright       12   as well as the original work.
13   exception or the likelihood of potential copyright       13         MS. O'KEEFE: Q. What percentage of DMCA
14   exception existing in a -- yes, the likelihood of        14   takedown notices include a copy of the original work?
15   potential copyright exception existing, we merely ask    15      A Oh, I -- I don't know the answer to that.
16   the claimant to consider whether they thought about      16      Q Is it more than 50 or less than 50 percent?
17   things like the four factors.                            17      A I -- I have -- I would only -- I would be
18         MS. O'KEEFE: Okay.                                 18   speculating if I guessed on this.
19      Q And do you identify those four factors for          19      Q Okay. In the context of your review of DMCA
20   the claimant when you ask that question?                 20   takedown notices for fair use, what percentage of the
21      A We -- we have a response where we ask them to       21   claims that you have reviewed for fair use have
22   consider things like whether the work has -- the new     22   provided a copy of the original work?
23   work has a different meaning than the original work,     23         MR. WILLEN: Objection to the form.
24   and ask them to consider how much of their work has      24         THE WITNESS: Unfortunately, I -- I don't
25   been used in the -- in the new work.                     25   know the answer to that.


                                                                                     11 (Pages 38 to 41)
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                                               Page 42                                                        Page 44
 1        MS. O'KEEFE: Q. Is it nearly 100 percent?           1         MS. O'KEEFE: Q. Can -- can you give me your
 2      A Your question is, are 100 percent of the --         2   best estimate?
 3   potentially the cases where they have potential fair     3      A I would also say less -- less than ten.
 4   use or some copyright exception cases where --           4      Q Less than ten?
 5      Q Simply fair use. We're talking about just           5      A (Witness nods head.)
 6   fair use right now.                                      6      Q You've -- you've -- you've examined less than
 7        When you have examined videos for fair use,         7   ten DMCA takedown notices in the last month?
 8   how frequently do you have a complete copy of the        8      A Myself personally?
 9   original work provided by the DMCA takedown claimant?    9      Q Yourself personally, yeah.
10        MR. WILLEN: Objection to the form.                 10      A Yes.
11        THE WITNESS: I -- I -- I don't know.               11      Q What is the policy -- strike that.
12        MS. O'KEEFE: Okay.                                 12         How does a member of the copyright operations
13        THE WITNESS: I -- I'm just, like --                13   team determine whether to review a particular takedown
14        MS. O'KEEFE: Q. Is it more than 10 percent         14   notice for fair use?
15   of the time?                                            15         MR. WILLEN: Objection to the form.
16      A It could be. I -- I just -- I -- total             16         THE WITNESS: So I think we would -- a member
17   speculation if I answered this question. So I don't     17   of the copyright operations team would review a DMCA
18   have a sense of the percentage in this case.            18   takedown notice by going through certain steps.
19      Q When was the last time you consulted legal         19         Number one is to determine whether the
20   counsel regarding a fair use determination?             20   takedown meets the statutory requirements, whether
21      A Myself personally?                                 21   the -- as required by the DMCA, there are some
22      Q Uh-huh.                                            22   elements there that need to be present.
23      A Maybe in the last two weeks.                       23         And after that, the copyright operations team
24      Q And how many times in the last month have you      24   would look to see whether the -- there's any abuse of
25   consulted legal counsel for a fair use determination?   25   the process. For instance, if the claimant does

                                               Page 43                                                        Page 45
 1      A Myself personally?                                  1   not -- is submitting a DMCA takedown request for
 2      Q Yourself personally.                                2   content that they are not -- they do not own or are
 3      A I -- I would, I guess, remind -- remind you         3   falsifying information on the legal form.
 4   that I -- I -- I'm a people manager, so I am not         4         And then the last step would be to
 5   participating in individual work as frequently as --     5   determine -- to -- to evaluate potential copyright
 6   as some other people on the team. So I may not be        6   exceptions, such as fair use.
 7   myself processing many takedown requests at any given    7         MS. O'KEEFE: Okay.
 8   time.                                                    8      Q Do you evaluate every single takedown notice
 9          So with that in mind, the question was, how       9   for copyright exceptions?
10   many times per month?                                   10      A We -- there are a portion of -- so we have --
11      Q How many times in the last month have you          11   we have some degree of automation.
12   consulted with legal counsel on a fair use question?    12         So a -- a classifier will evaluate a certain
13      A I -- I don't have an exact number.                 13   subset of DMCA takedown requests. And per the logic
14      Q What's your best estimate?                         14   of the classifier, if there are signals in -- that it
15      A I would say likely less than ten.                  15   detects which potentially would flag it for manual
16      Q Less than five?                                    16   review, for human review, then it would send it over
17      A I'm not sure about less than five.                 17   to human review. And as part of human review,
18      Q And how many DMCA takedown notices have you        18   reviewers will evaluate for copyright exceptions.
19   processed this month?                                   19      Q What is your best understanding of the
20          MR. WILLEN: Objection to the form.               20   classifiers that will send a takedown notice for
21          THE WITNESS: I think similarly to my             21   manual review?
22   previous response, again, I'm a people manager, so      22      A My best understanding of the classifiers?
23   I -- I don't participate very much these days in        23         Unfortunately, that is -- it's kind of the
24   actioning DMCA requests myself. So I -- I do not        24   domain of the product team. Like, I -- I myself
25   remember how many I've processed in the last month.     25   and -- and my team, we -- we don't -- we don't set the


                                                                                    12 (Pages 42 to 45)
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                                                Page 46                                                      Page 48
 1   logic of -- of how the classifiers work. So that --       1   content ID.
 2   it's a bit outside my expertise.                          2        So who would be -- who else would be on
 3       Q Okay. I understand that you don't set the           3   the --
 4   logic.                                                    4      A I believe that is --
 5          Do you have an understanding of the logic of       5      Q -- the team?
 6   how the classifiers work?                                 6      A -- that's the same team.
 7       A Broadly.                                            7      Q That's the same team?
 8       Q Can you please provide me with your broad           8      A (Witness nods head.)
 9   understanding of the logic of how those classifiers       9      Q Okay. Who else is on that team besides Kevin
10   work.                                                    10   Zhu?
11       A So similar to how I've described the overall       11      A I -- I believe Julian Bill is on that team.
12   review process where, you know, our -- any given DMCA    12      Q And who else is on that team?
13   takedown request is evaluated for completeness on the    13      A I believe he reports to David Rosenstein.
14   basis of the DMCA statutory requirements, as well as,    14      Q Okay. Going back to the factors for fair
15   you know, ruling out potential abuse, and then taking    15   use, when the DMCA takedown notice does not include a
16   into consideration copyright exceptions such as          16   copy of the original work, how do you determine how
17   fair -- fair use, a -- the classifier will similar --    17   much of the original work has been used?
18   similarly try to take some of these into account.        18      A It's a case-by-case basis. In certain cases,
19          So if the classifier is uncertain -- this is      19   the claimants may provide a link to a work on a
20   to my best knowledge. Again, I -- I'm not an expert      20   different site -- their -- their work on a different
21   in this on the product side. But to my best              21   site which we may be able to access and -- and view.
22   knowledge, if the classifier is uncertain that one of    22        In cases where the claimant provides a
23   these requirements has been met, then it will route it   23   description of the work, it may be so well known that
24   for a human to take a look at.                           24   we understand to some degree what -- what is the --
25       Q Okay. Does YouTube ever find a DMCA notice         25   the extent of that work; for instance, if it's a


                                                Page 47                                                      Page 49
 1   to be insufficient without a manual review?               1   well-known film.
 2      A If the classifier finds that it is uncertain,        2      Q And in the absence of those resources, how do
 3   again, to the best of my knowledge, as I am not a         3   you determine how much of the work is used?
 4   product specialist or have expertise in -- in the         4      A We have -- in -- in the UI, there is -- the
 5   product or the classifier itself, my understanding is     5   review UI, there is a section where timestamps --
 6   that if the classifier is uncertain, and there is the     6   where we allow the claimant to pro- -- to provide
 7   possibility that a DMCA notice is incomplete in some      7   timestamps where the original -- where they believe
 8   way, it will route to human review. And the human         8   their -- their original work is used in the targeted
 9   will there -- will complete the task and review all       9   work.
10   the -- all the elements as I've described.               10      Q So that would allow you to determine how much
11      Q To the best of your knowledge, does the             11   of the targeted work -- strike that.
12   classifier consider the number of views on the video?    12         So that would allow you to determine what
13      A I -- I do not know the answer to that.              13   portion of the targeted work is represented by the
14      Q Do you know whether the classifier considers        14   original work; correct?
15   the number of subscribers to the channel on which the    15         MR. WILLEN: Objection to the form.
16   video is posted?                                         16         THE WITNESS: So that would -- that
17      A I -- I don't know. These are --                     17   provide -- that information is -- provides us with
18      Q Who --                                              18   what the claimants believe -- what timestamps the
19      A -- questions for the product team.                  19   claimant believes their original work exists in the
20      Q Yeah.                                               20   targeted work.
21         Who is on the product team that would deal         21         It may be correct, it may be incorrect, but
22   with the classifier, if you know?                        22   it gives us a guidepost to -- to look at the targeted
23      A I -- I believe Kevin Zhu is -- would -- would       23   work and determine whether -- you know, after looking
24   be -- he -- he's familiar with the product side.         24   at it ourselves, whether that content, in fact -- the
25      Q Okay. I believe Mr. Zhu has moved to                25   claimant's content, in fact, or is likely to -- to


                                                                                    13 (Pages 46 to 49)
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                                                Page 58                                                       Page 60
 1         THE WITNESS: I think when we analyze that           1      Q Can you please provide me with your best
 2   factor in -- in copyright -- in determining whether       2   estimate.
 3   there is a likelihood of a copyright exception such as    3      A I would -- likely over 400,000.
 4   fair use existing, we will evaluate the -- the            4      Q Okay. And of those 400,000 DMCA takedown
 5   targeted video and compare it to the description of       5   notices, how many times have you or members of your
 6   the original work as provided by the claimant.            6   team needed to consult with counsel regarding a
 7         And if there is -- if there are resources           7   question of fair use?
 8   available that will help us make the determination        8      A I -- I don't know the answer to that.
 9   available, then we will -- we will use those              9      Q Okay. Would it be more or less than ten?
10   resources.                                               10      A Likely more than ten.
11         MS. O'KEEFE: Q. And what factors do you            11      Q Would it be more or less than 100?
12   take into consideration in evaluating the fourth fair    12      A What was the time frame again?
13   use factor, the nature of the use?                       13      Q In the last month.
14         MR. WILLEN: I'm just going to give you the         14      A Month? Probably less than 100.
15   same general admonition that I've given with respect     15      Q Okay. Would it be more or less than 50?
16   to this question before.                                 16      A I'm not sure about that.
17         THE WITNESS: Broadly, I think when, you            17      Q Okay. Would it be more or less than 75?
18   know, this is part of case law and -- and precedent      18      A It -- it may be in that ballpark.
19   outside of YouTube, it's -- courts have considered       19      Q In what ballpark? What ballpark would you
20   whether a, you know, work is -- an original work is a    20   put it in?
21   factual work or fictional work. And -- and this may      21      A 50 to 100, ballpark.
22   play a part in determining whether a copyright           22      Q Okay. What is your best understanding of the
23   exception is -- is stronger or weaker.                   23   exceptions to copyright that your team analyzes in
24         MS. O'KEEFE: Q. In your opinion, is a              24   connection with DMCA takedown notices?
25   copyright exception stronger or weaker for a factual     25        MR. WILLEN: Objection to the form.

                                                Page 59                                                       Page 61
 1   work?                                                     1         THE WITNESS: So we will -- as one part of
 2      A I think it depends on the situation again.           2   our analysis of the DMCA takedown removal request, we
 3   Like, that's a -- it's a consideration that we've --      3   will look at exceptions in the -- in the U.S., such as
 4   that we take into account because courts have. But        4   fair use, which may allow work to be lawfully used
 5   again, I think when we look at the individual facts of    5   without being infringing, and we may consider similar
 6   a given DMCA takedown request, this may play a smaller    6   international equivalence of fair use.
 7   or larger part. But generally, it's just one factor       7         MS. O'KEEFE: Q. Are there any other
 8   that we consider, and it's highly dependent upon the      8   exceptions that you consider?
 9   facts of the case.                                        9      A So I -- I think that fair use and -- and
10      Q Do the members of the copyright operations          10   similar copyright exceptions that use a similar
11   team that you manage contact counsel directly?           11   framework as the fair use -- as fair use does in the
12         Or do they need to get approval through you        12   United States, we do consider those.
13   in order to contact counsel regarding questions of       13      Q Okay. Other than copyright exceptions or
14   fair use?                                                14   similar provisions applicable in other countries, what
15      A The team has standing meetings with counsel.        15   exceptions -- I'm sorry. Strike that.
16   So they -- we can bring our questions to counsel at      16         Other than fair use or similar provisions
17   the standing meeting. Outside of that, we can e-mail     17   that are applicable in other countries, what
18   counsel as well.                                         18   exceptions to copyright do you consider?
19      Q And if a member of your team were to e-mail         19      A I think as described, fair use and similar
20   counsel with regard to a question regarding fair use,    20   international exceptions, those would be the
21   would they copy you on that e-mail?                      21   exceptions that -- that we evaluate.
22      A It's likely they would.                             22         Obviously, if something is not subject to
23      Q Okay. How many DMCA takedown notices has            23   copyright, if it's a completely different legal issue
24   your team processed in the last month?                   24   such as trademark or privacy, that is outside the
25      A I -- I don't have an exact number.                  25   scope of copyright. I wouldn't describe it as an


                                                                                     16 (Pages 58 to 61)
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 1   exception, but it would be something we would not         1   consulted with -- with product counsel, we understand
 2   process if we receive a DMCA request for it.              2   the fact pattern, and the close -- and the new one
 3      Q Okay. One more follow-up question on the             3   closely mirrors that, and we have a decision -- we --
 4   numbers. Please provide me with your best estimate of     4   we understand what was previously done in a similar
 5   the number of DMCA takedown notices that your team has    5   situation, we may adopt the same decision for the new
 6   disallowed in the past month on the basis of fair use.    6   case without consulting product counsel.
 7         MR. WILLEN: Objection to the form.                  7      Q Please provide me with your best estimate for
 8         THE WITNESS: I -- I don't have the number           8   the number of times in the last month that your team
 9   off the top of my head of how many takedown requests      9   has determined not to remove content on the grounds of
10   we have asked the claimants to consider fair use for.    10   a fair use exception.
11         MS. O'KEEFE: Okay.                                 11      A Unfortunately, I -- I do not know the -- the
12      Q Do -- does your team ever find a DMCA               12   number there.
13   takedown notice to be deficient on the basis of fair     13      Q Do you think it's more or less than 100 times
14   use?                                                     14   in the last month?
15         MR. WILLEN: Objection to the form.                 15      A Unfortunately, I -- I don't have a good
16         THE WITNESS: I'm not sure about -- sure            16   reference as -- in terms of the volume. So I -- I
17   about the word "deficient."                              17   have no -- I can't even provide an estimate here --
18         But we have -- as we go through the process        18      Q Okay.
19   of reviewing a DMCA takedown, once we've gotten to the   19      A -- unfortunately.
20   step of evaluating potential copyright exceptions such   20      Q Does your team provide the content owner with
21   as fair use, we will ask the claimants to consider       21   the reason for the refusal to remove the content?
22   fair use and respond back to us with more detail about   22      A Our team has canned responses which will,
23   why they believe the content that they are targeting     23   depending on the situation, explain to the claimant
24   for removal does not qualify under a copyright           24   who is ask -- who is requesting to remove the video,
25   exception such as fair use.                              25   we'll either provide them -- provide the claimants


                                                Page 63                                                        Page 65
 1          MS. O'KEEFE: Okay.                                 1   with additional questions for them to answer to help
 2       Q And after the claimant has responded, what is       2   us understand if there is further information that,
 3   the next step for your team?                              3   you know, is missing that will help us determine
 4       A After the claimant has responded, we will           4   whether to comply or not comply with the takedown
 5   typically consult with product counsel.                   5   request.
 6       Q And after you have consulted with product           6      Q Okay. And in the event that you make the
 7   counsel, what is the next step for your team?             7   decision not to remove the content on the grounds of
 8          MR. WILLEN: Objection to the form.                 8   fair use, do you communicate with the claimant that
 9          THE WITNESS: Relating to the ticket that is        9   the reason the video has not been removed is due to a
10   at issue or the DMCA takedown request that is at         10   finding of fair use?
11   issue, product counsel may advise whether we comply      11      A We have canned responses which ask the
12   with the removal request based on the information that   12   claimants to -- we've already flagged to the claimant,
13   we've been provided by the claimants, or product         13   like, this potentially may -- may be a copyright
14   counsel may advise that we do not remove the content     14   exception, and ask -- ask the claimant to provide us
15   if the likelihood of there being a copyright exception   15   with further information as to why they believe that
16   is -- is strong.                                         16   is not a copyright exception.
17          MS. O'KEEFE: Okay.                                17         If, past that stage, counsel has advised us
18       Q Does product counsel always contribute to the      18   that the likelihood of a copyright exception is
19   determination not to remove the content under the fair   19   strong, and we will not comply with the removal
20   use exception?                                           20   request, then we will -- we will respond to the -- to
21       A There are situations where we -- so                21   the claimant and tell them we are not removing the
22   typically, over time we work with product counsel on a   22   content.
23   variety of cases which allows us to set some internal    23      Q Okay. When you tell the claimant that you
24   precedent on how to handle similar fact patterns.        24   will not remove the content, do you provide fair use
25          And if a fact pattern has been -- we've           25   as the reason for not removing the content?


                                                                                     17 (Pages 62 to 65)
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 1   he has reports. Do you want some names from that
 2   team?
 3      Q Uh-huh.
 4      A Zelia Rosas and Sindhu -- last initial S.            4         I just want to make sure.
 5   Elliot Poh.                                               5      A I'm not sure if there is a distinction there.
 6         That -- that's what I can remember at this          6      Q Okay.
 7   time.                                                     7      A I think they -- as I'm understanding it, it's
 8      Q Who do you report to?                                8   the same -- same thing.
 9      A I report to Shantal Poovala.                         9      Q Okay. How do you measure the accuracy of a
10      Q And who does he report to?                          10   DMCA takedown response?
11      A She --                                              11      A We have a quality assurance process by which
12      Q She.                                                12   samples of handled tickets or previously answered DMCA
13      A -- she reports to Pierce Stacy.                     13   takedown requests are pulled and reviewed by a quality
14      Q Okay. What metrics are the copyright                14   team.
15   operations team evaluated on?                            15          Those -- those quality reviewers will
16      A We -- the copyright operations team is              16   evaluate the initial decision by determining whether
17   evaluated on quality. So that is the accuracy of         17   the correct canned response was sent, determining
18   handling DMCA takedown requests and the accuracy of      18   whether the video was properly removed or properly
19   handling counter-notification requests.                  19   left live.
20         In addition, another metric would be               20          There are some other factors involved in
21   timeliness. So this would be the speed of removing       21   quality; for instance, whether -- there is an abuse
22   of -- excuse me -- the speed of reviewing a takedown     22   check as well. So one consideration in the quality is
23   request and responding to -- to that takedown request,   23   whether the reviewer considered -- correctly
24   whether it be a pushback or complying with the removal   24   considered abuse as a factor. And if the complaint
25   request.                                                 25   wasn't seemingly abusive, pushed back against the

                                               Page 107                                                     Page 109
 1      Q Any other metrics?                                   1   claimant to request more information to validate
 2      A Those are the main two.                              2   whether there is -- is or is not abuse.
 3      Q Can you think of any others?                         3       Q Does the quality assurance review result in
 4      A There are subsets of metrics underneath the          4   reports?
 5   timeliness metric. So we -- as an example, average        5       A By "reports," you mean, like, a summary of
 6   response -- excuse me -- average time to response         6   the results of the -- the findings?
 7   would be one metric. And then a different dimension       7       Q (Counsel nods head.)
 8   of the metric would be average percents within target     8       A We -- we track metrics on week over --
 9   handling time.                                            9   week-over-week quality. So in terms of reporting,
10      Q And what is your target handling time?              10   it -- it would be available in our dashboards.
11                                                            11       Q And what dashboards would it be available on?
                                                              12       A Our metrics dashboard.
13     Q And for a counter-notice?                            13       Q And do you assess the accuracy of your
14                                                            14   handling of counter-notices in the same way that you
                                                              15   assess the accuracy of handling takedown notices?
                                                              16       A We do perform quality review on
                                                              17   counter-notification handling by reviewers. The
18     Q And when was that change made?                       18   approach is a little different, because the
19     A January 2022.                                        19   counter-notification workflow has different steps to
20     Q Are there any other sub-metrics within the           20   it than a takedown workflow. But in terms of the
21   timeliness category?                                     21   broad categories, they are similar.
22     A No.                                                  22          So for counter-notification quality, we are
23     Q And what is your target handling time for            23   looking at whether the DMCA requirements are -- are
24   responding to a takedown notice?                         24   present in the counter-notification, which is similar
25                                                            25   to the process in the takedown.


                                                                                 28 (Pages 106 to 109)
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                                         Errata Sheet




                Replace <Remote Videotaped> with                   To correct the record
                <In-Person>

                                                                   To correct the record




    a             Subject to the above changes, I certify that the transcript is true and correct.

                  No changes have been made. I certify that the transcript is true and correct.




       a                                                     _   August          \ 0,   202L—-
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                             ACKNOWLEDGMENT          OF DEPONENT

                                                                          foregoing testimony,
       I, Chris Ting, do hereby certify that I have read and examined the
                                                                                                n
and that the same is a correct transcription of the answers given by me to the questions therei
                                                                                      in the
propounded, except for the corrections or changes in form or substance, if any, noted

attached Errata Sheet.



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                    ature)                                                  (date)
